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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                   Plaintiff,                      )
                                                   )
        v.                                         )     No. 4:08-CR-496 CEJ
                                                   )
JAMES HAROLD ELLEGOOD,                             )
                                                   )
                   Defendant.                      )

                                                 ORDER

        Pursuant to 28 U.S.C. § 636(b), the Court referred all

pretrial matters in this case to United States Magistrate Judge

Frederick           R.   Buckles      for    determination          and     recommended

disposition, where appropriate.                    On January 30, 2009, Judge

Buckles entered an Order and Recommendation with respect to the

motions filed by defendant James Harold Ellegood.                         On February 9,

2009,        the     defendant    filed     an    objection    to    the     Order   and

Recommendation, and requested a hearing.

        Pursuant to 28 U.S.C. § 636(b)(1), the Court is required to

make a de novo determination of the specified proposed findings and

recommendations to which objection is made.                    Here, the defendant

makes only general, non-specific objections. He does not identify

any error in the factual findings made by the magistrate judge or

in the application of the law to the facts.

        Nevertheless, having reviewed the evidence presented during

the suppression hearing, the Court finds that the defendant was
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not in custody at the time he made the statements that the

government intends to present at trial.              The statements were made

during the search of the defendant’s residence. The defendant was

told that he was free to leave while the search was being

conducted, but he chose to stay.             He was not handcuffed nor were

his movements restrained in any way.            Additionally, the evidence

establishes that the defendant’s statements did not result from

questioning by the law enforcement officers or from conduct

designed to elicit a statement. Because the defendant was neither

in custody nor interrogated, there was no requirement that the

Miranda warnings be given to him. Miranda v. Arizona, 384 U.S.

436, 478-79 (1966).        See Berkemer v. McCarthy, 468 U.S. 420, 440

(1984); Rhode Island v. Innis, 446 U.S. 291, 300-01 (1980).

     The   evidence       further     establishes     that    the    defendant’s

statements were not the product of promises, threats or coercion.

In fact, the statements were made by the defendant in conversation

with his wife and in casual conversation with one of the agents.

Thus,   the    Court      concludes    that    the    statements      were    made

voluntarily.

     Accordingly,

     IT IS HEREBY ORDERED that the Order and Recommendation of

United States Magistrate Judge Frederick R. Buckles is sustained,

adopted, and incorporated herein.




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     IT IS FURTHER ORDERED that the motions of defendant James

Harold Ellegood to suppress statement [Doc. # 68] and for a bill

of particulars [Doc. # 70] and the defendant’s request for a

hearing are denied.




                                    CAROL E. JACKSON
                                    UNITED STATES DISTRICT JUDGE



Dated this 19th day of February, 2009.




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